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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND
(Northern Division)

 

 

KAMILLE D. JONES, )
)
Plaintiff, )
V. ) Civil Action No. 1:21-cv-02606-ADC
)
BLAIR WELLNESS CENTER, LLC, et al. )
)
Defendants. )
)
)
BLAIR WELLNESS CENTER, LLC, et al. )
)
Counter-Plaintiffs, )
)
v. )
)
KAMILLE D. JONES )
)
Counter-Defendant. )
)
“PROPOSED ORDER

UPON review and consideration of the Joint Motion to Extend Discovery Deadline, it is
this 2 say of eh , ordered that:

ORDERED, the Joint Motion to Extend Discovery Deadline is GRANTED; and it is
further

ORDERED, that the deadline for completion of discovery and submission of the post-
discovery status report shall be December 12, 2022; and it is further

ORDERED, that the deadline for Requests for Admission shall be December 19, 2022;

and it is further
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ORDERED, that the deadline for submission of dispositive pretrial motions shall be

January 17, 2022.

IT IS SO ORDERED. Ll ite

The ante David Copperthite
United States District Court
for the District of Maryland
